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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            CASE NO. 8:11CR331
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )            TENTATIVE FINDINGS
                                               )
MAUDE T. HILL,                                 )
                                               )
              Defendant.                       )


       The Court has received the Revised Presentence Investigation Report (“PSR”), the

Defendant’s objections thereto (Filing No. 79), and the government’s statement of position

(Filing No. 80). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

Defendant’s Objections

       The Defendant objects to ¶¶ 24 and 28, and to the lack of a downward adjustment

of 2 levels under U.S.S.G. § 2D1.1(b)(15). According to the cover letter that accompanied

the final version of the PSR, the objections were not initially submitted to the probation

officer as required in the Order on Sentencing Schedule. Additionally, the Defendant

offered no argument regarding the objection to ¶ 24. Therefore, the Court’s tentative

findings are that the objections are denied.

Government’s Statement

       The government stated that it will not oppose the Defendant’s request for a reduction

for relief under the safety valve. A request has not yet been made, and the Court will allow

the Defendant to make an oral request at sentencing.
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       The government responded to the Defendant’s request for a 4-level reduction for

a role as a minimal participant and the lack of a 2-level reduction under U.S.S.G. §

2D1.1(b)(15).

       IT IS ORDERED:

       1.       The Defendant’s objections to the PSR are denied;

       2.       The Defendant may request a safety valve reduction orally at sentencing;

       3.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.       Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.       Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 18th day of June, 2012.

                                           BY THE COURT:

                                           S/ Laurie Smith Camp
                                           Chief United States District Judge




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